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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

     WOLLMUTH MAHER & DEUTSCH LLP
     Paul R. DeFilippo, Esq.
     500 Fifth Avenue
     New York, New York 10110
     Telephone: (212) 382-3300
     Facsimile: (212) 382-0050
     pdefilippo@wmd-law.com

     JONES DAY
     Gregory M. Gordon, Esq.
     Brad B. Erens, Esq.
     Dan B. Prieto, Esq.
     Amanda Rush, Esq.
     2727 N. Harwood Street
     Dallas, Texas 75201
     Telephone: (214) 220-3939
     Facsimile: (214) 969-5100
     gmgordon@jonesday.com
     bberens@jonesday.com
     dbprieto@jonesday.com
     asrush@jonesday.com
     (Admitted pro hac vice)

     ATTORNEYS FOR DEBTOR
     In re:                                                          Chapter 11

     LTL MANAGEMENT LLC, 1                                           Case No.: 21-30589 (MBK)

                                 Debtor.                             Judge: Michael B. Kaplan
     LTL MANAGEMENT LLC,

                                 Plaintiff,
                                                                     Adv. No. 22-1231 (MBK)
     v.

     STATE OF NEW MEXICO, ex rel. HECTOR H.
     BALDERAS, Attorney General, and STATE OF
     MISSISSIPPI, ex rel. JIM HOOD, Attorney General,

                                 Defendants.

                          NOTICE OF AGENDA OF MATTERS SCHEDULED
                        FOR HEARING ON SEPTEMBER 14, 2022 AT 10:00 A.M.


 1
              The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
              501 George Street, New Brunswick, New Jersey 08933.


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                          Parties are directed to https://www.njb.uscourts.gov/LTL
                                 for appearing via in-person or zoom

 MATTERS NOT GOING FORWARD IN THE BASE CASE

 1.      Motion of the Official Committee of Talc Claimants to Terminate the Debtor’s Exclusive
         Period Pursuant to 11 U.S.C. § 1121(d)(1) [Dkt. 2721].

         Status: Pursuant to the Order Adjourning Exclusivity Motions and Extending
         Debtor’s Exclusivity Periods [Dkt. 2870], this matter has been adjourned to the
         November 16, 2022 hearing.

 2.      Debtor’s Motion for an Order Authorizing Establishment of a Qualified Settlement Fund
         for Payment of Talc Claims [Dkt. 8] (the “QSF Motion”).

         Status: Pursuant to the Determination of Adjournment Request [Dkt. 2860], this
         matter has been adjourned to the November 16, 2022 hearing.

 3.      Debtor’s Motion for an Order (A) Authorizing the Filing Under Seal of Certain
         Confidential Commercial Information in Connection with the QSF Motion and (B) if
         Necessary, In Camera Hearing [Dkt. 9].

         Status: Pursuant to the Determination of Adjournment Request [Dkt. 2860], this
         matter has been adjourned to the November 16, 2022 hearing.

 MATTERS GOING FORWARD IN THE ADVERSARY PROCEEDING

 4.      Debtor’s Motion for an Order (I) Preliminarily Enjoining the Prosecution of the
         New Mexico and Mississippi State Actions and (II) Granting a Temporary Restraining
         Order Pending a Further Hearing [Adv. Pro. Dkt. 2] (the “PI Motion”).

         Status: This matter is going forward.

         Objection Deadline: August 12, 2022

         Related Documents:

         A.       Debtor’s Verified Complaint for Injunctive Relief (I) Preliminarily Enjoining the
                  Prosecution of the New Mexico and Mississippi State Actions and (II) Granting a
                  Temporary Restraining Order Pending a Final Hearing [Adv. Pro. Dkt. 1].

         B.       Proposed Preliminary Injunction Order [Adv. Pro. Dkt. 3].

         C.       Proposed Temporary Restraining Order [Adv. Pro. Dkt. 4].

         D.       Declaration of John K. Kim in Support of Debtor’s Verified Complaint for
                  Injunctive Relief and Related Motion With Respect to the New Mexico and
                  Mississippi State Actions [Adv. Pro. Dkt. 5].

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         E.       Application to Shorten Time [Adv. Pro. Dkt. 6].

         F.       Order Granting Application to Shorten Time [Adv. Pro. Dkt. 7].

         G.       Summons Issued for Service [Adv. Pro. Dkt. 8].

         H.       Consent Order Regarding (I) Briefing Schedule for Debtor’s Motion for an Order
                  Preliminarily Enjoining the Prosecution of the New Mexico and Mississippi State
                  Actions, (II) Agreed Stay of Such Actions and (III) Extension of the Time for
                  Defendants to Respond to the Complaint [Adv. Pro. Dkt. 15].

         I.       Debtor’s Reply in Support of PI Motion [Adv. Pro. Dkt. 24].

         J.       Debtor’s August 22, 2022 Letter to the Court [Adv. Pro. Dkt. 26].

         K.       States of New Mexico and Mississippi August 22, 2022 Letter to the Court [Adv.
                  Pro. Dkt. 27].

         Objections Received:

         L.       The States’ Opposition to Debtor’s Motion for Injunctive Relief [Adv. Pro.
                  Dkt. 18] (the “States’ Opposition”).

         M.       Declaration of Robert K. Malone Pursuant to 28 U.S.C. § 1746 in Support of the
                  States’ Opposition [Adv. Pro. Dkt. 19].

         N.       Objection of the Ad Hoc Committee of States Holding Consumer Protection
                  Claims to the PI Motion [Adv. Pro. Dkt. 21].

         O.       Statement of the Official Committee of Talc Claimants in Support of the States’
                  Opposition [Adv. Pro. Dkt. 22] (the “TCC Statement”).

         P.       Maune Raichle Hartley French & Mudd, LLC’s Joinder to the TCC Statement and
                  the States’ Opposition [Adv. Pro. Dkt. 23].

 MATTER GOING FORWARD IN THE BASE CASE

 5.      Debtor’s September 7, 2022 Letter to the Court Regarding the Scope of the Order
         Granting Limited Relief From the Automatic Stay [Dkt. 2973] (the “Debtor’s Letter”).

         Related Documents:

         A.       Order Granting Limited Relief From the Automatic Stay [Dkt. 2836].

         B.       Anthony Hernandez Valadez’s Response to the Debtor’s Letter [Dkt. 2979].

         Status: This matter is going forward with permission of the Court.



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                     INTERIM FEE APPLICATIONS GOING FORWARD

 The following applications for compensation and reimbursement of expenses are going forward.
 Numbers 1, 13-20, 22, and 26-31 are going forward on an uncontested basis and numbers 2-12,
 21, and 23-25 are subject to the Debtor’s Statement Regarding Second Interim Fee Applications
 Filed by Professionals for the Official Committee of Talc Claimants I and the Official Committee
 of Talc Claimants II and Objection to Fees and Expenses Associated with Committee Website
 [Dkt. 2888] (the “Debtor’s Statement and Objection”):

 1.      Orrick, Herrington & Sutcliffe LLP [Dkts. 2560, 2561].

         Objection Deadline: September 6, 2022

         Related Documents:

         A.       Fee Examiner’s Consolidated Final Report Pertaining to the Interim Fee
                  Applications of Retained Professionals for the Period From February 1, 2022
                  Through May 31, 2022 [Dkt. 2958] (the “Fee Examiner Final Report”).

 2.      Genova Burns LLC [Dkt. 2577].

         Objection Deadline: September 7, 2022

         Related Documents and Objections:

         A.       The Fee Examiner Final Report.

         B.       The Debtor’s Statement and Objection.

         C.       Maune Raichle Hartley French & Mudd, LLC’s Response to Johnson
                  & Johnson’s Statements and Objections Regarding Fee Applications [Dkt. 2968]
                  (the “MRHFM Response”).

 3.      Sherman, Silverstein, Kohl, Rose & Podolsky, P.A. [Dkt. 2578].

         Objection Deadline: September 7, 2022

         Related Documents and Objections:

         A.       The Fee Examiner Final Report.

         B.       The Debtor’s Statement and Objection.

         C.       The MRHFM Response.

 4.      Brown Rudnick LLP [Dkt. 2579].

         Objection Deadline: September 7, 2022


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         Related Documents and Objections:

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         B.       The Debtor’s Statement and Objection.

         C.       The MRHFM Response.

 5.      Waldrep Wall Babcock & Bailey PLLC [Dkt. 2580].

         Objection Deadline: September 7, 2022

         Related Documents and Objections:

         A.       The Fee Examiner Final Report.

         B.       The Debtor’s Statement and Objection.

         C.       The MRHFM Response.

 6.      Bailey & Glasser LLP [Dkt. 2581].

         Objection Deadline: September 7, 2022

         Related Documents and Objections:

         A.       The Fee Examiner Final Report.

         B.       The Debtor’s Statement and Objection.

         C.       The MRHFM Response.

 7.      Massey & Gail LLP [Dkt. 2582].

         Objection Deadline: September 7, 2022

         Related Documents and Objections:

         A.       The Fee Examiner Final Report.

         B.       The Debtor’s Statement and Objection.

         C.       The MRHFM Response.

 8.      FTI Consulting, Inc. [Dkt. 2583].

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         Related Documents and Objections:

         A.       The Fee Examiner Final Report.

         B.       The Debtor’s Statement and Objection.

         C.       The MRHFM Response.

 9.      MoloLamken LLP [Dkt. 2584].

         Objection Deadline: September 7, 2022

         Related Documents and Objections:

         A.       The Fee Examiner Final Report.

         B.       The Debtor’s Statement and Objection.

         C.       The MRHFM Response.

 10.     Miller Thomson LLP [Dkts. 2233, 2586].

         Objection Deadline: September 7, 2022

         Related Documents and Objections:

         A.       The Fee Examiner Final Report.

         B.       The Debtor’s Statement and Objection.

         C.       The MRHFM Response.

 11.     Otterbourg P.C. [Dkt. 2588].

         Objection Deadline: September 7, 2022

         Related Documents and Objections:

         A.       The Fee Examiner Final Report.

         B.       The Debtor’s Statement and Objection.

         C.       The MRHFM Response.

 12.     Parkins Lee & Rubio LLP [Dkt. 2589].

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         Related Documents and Objections:

         A.       The Fee Examiner Final Report.

         B.       The Debtor’s Statement and Objection.

         C.       The MRHFM Response.

 13.     King & Spalding LLP [Dkt. 2595].

         Objection Deadline: September 7, 2022

         Related Documents:

         A.       The Fee Examiner Final Report.

 14.     Wollmuth Maher & Deutsch LLP [Dkt. 2596].

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         Related Documents:

         A.       The Fee Examiner Final Report.

 15.     Bates White, LLC [Dkt. 2597].

         Objection Deadline: September 7, 2022

         Related Documents:

         A.       The Fee Examiner Final Report.

 16.     McCarter & English, LLP [Dkt. 2598].

         Objection Deadline: September 7, 2022

         Related Documents:

         A.       The Fee Examiner Final Report.

 17.     AlixPartners, LLP [Dkt. 2599].

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         Related Documents:

         A.       The Fee Examiner Final Report.




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 18.     Blake, Cassells & Graydon LLP [Dkt. 2600].

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         Related Documents:

         A.       The Fee Examiner Final Report.

 19.     Weil, Gotshal & Manges LLP [Dkt. 2601].

         Objection Deadline: September 7, 2022

         Related Documents:

         A.       The Fee Examiner Final Report.

 20.     Skadden, Arps, Slate, Meagher & Flom LLP [Dkt. 2602].

         Objection Deadline: September 7, 2022

         Related Documents:

         A.       The Fee Examiner Final Report.

 21.     Cooley LLP [Dkts. 1767, 2603].

         Objection Deadline: September 8, 2022

         Related Documents and Objections:

         A.       The Fee Examiner Final Report.

         B.       The Debtor’s Statement and Objection.

         C.       The MRHFM Response.

         D.       Debtor’s Objection to the Final Application for Allowance of Fees and
                  Reimbursement of Expenses for the Period of December 31, 2021 Through
                  April 12, 2022 Filed by Cooler, LLP, Co-Counsel for the Official Committee of
                  Talc Claimants II [Dkt. 2952].

         E.       Notice of Withdrawal of Request for Reimbursement of Expenses Incurred by
                  Certain TCC II Committee Members [Dkt. 2998].

 22.     Jones Day [Dkts. 2360, 2604].

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         Related Documents:

         A.       The Fee Examiner Final Report.

 23.     Anderson Kill PC [Dkt. 2623].

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         Related Documents and Objections:

         A.       The Fee Examiner Final Report.

         B.       The Debtor’s Statement and Objection.

         C.       The MRHFM Response.

 24.     Houlihan Lokey Capital, Inc. [Dkt. 2667].

         Objection Deadline: September 7, 2022

         Related Documents and Objections:

         A.       The Fee Examiner Final Report.

         B.       The Debtor’s Statement and Objection.

         C.       The MRHFM Response.

 25.     The Brattle Group [Dkt. 2668].

         Objection Deadline: September 7, 2022

         Related Documents and Objections:

         A.       The Fee Examiner Final Report.

         B.       The Debtor’s Statement and Objection.

         C.       The MRHFM Response.

 26.     Randi S. Ellis [Dkt. 2688].

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         Related Documents:

         A.       The Fee Examiner Final Report.




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 27.     Walsh Pizzi O’Reilly Falanga LLP [Dkt. 2690].

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         Related Documents:

         A.       The Fee Examiner Final Report.

 28.     Womble Bond Dickinson (US) LLP [Dkt. 2718].

         Objection Deadline: September 7, 2022

         Related Documents:

         A.       The Fee Examiner Final Report.

 29.     Traurig Law LLC [Dkt. 2732].

         Objection Deadline: September 7, 2022

         Related Documents: None.

 30.     Robert J. Keach, Esq. [Dkt. 2733].

         Objection Deadline: September 7, 2022

         Related Documents: None.

 31.     Bernstein, Shur, Sawyer & Nelson, P.A. [Dkt. 2734].

         Objection Deadline: September 7, 2022

         Related Documents: None.




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  Dated: September 12, 2022                WOLLMUTH MAHER & DEUTSCH LLP

                                           /s/ Paul R. DeFilippo
                                           Paul R. DeFilippo, Esq.
                                           James N. Lawlor, Esq.
                                           Joseph F. Pacelli, Esq. (pro hac vice)
                                           500 Fifth Avenue
                                           New York, New York 10110
                                           Telephone: (212) 382-3300
                                           Facsimile: (212) 382-0050
                                           pdefilippo@wmd-law.com
                                           jlawlor@wmd-law.com
                                           jpacelli@wmd-law.com

                                           JONES DAY
                                           Gregory M. Gordon, Esq.
                                           Brad B. Erens, Esq.
                                           Dan B. Prieto, Esq.
                                           Amanda Rush, Esq.
                                           2727 N. Harwood Street
                                           Dallas, Texas 75201
                                           Telephone: (214) 220-3939
                                           Facsimile: (214) 969-5100
                                           gmgordon@jonesday.com
                                           bberens@jonesday.com
                                           dbprieto@jonesday.com
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